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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-80176-CIV-BB
IRA KLEIMAN, ET AL.,
PLAINTIFFS,
-y-
CRAIG WRIGHT,

DEFENDANT. West Palm Beach, Florida

June 28, 2019

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TRANSCRIPT OF EVIDENTIARY HEARING PROCEEDINGS

BEFORE THE HONORABLE BRUCE E. REINHART

UNITED STATES MAGISTRATE JUDGE

Appearances:

(On Page 2.)

Reporter Stephen W. Franklin, RMR, CRR, CPE
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BY MS. McGOVERN:

Q Dr. Wright, have you taken any steps to ameliorate the
Situation or to try to recreate a list of the public addresses
of the Bitcoin mined during the relevant time period in an
attempt to comply with the Court's order and demonstrate that

the noncompliance is not willful?

A Yes.
QO What have you done?
A I have taken high-end staff, including our CTO and others

of nChain, who were working on projects, and have them instead
analyzing how I told them I mined and what structure I used in
the addressing, so that they can pull those addresses out with
a slight probabilistic error at worst.

Q Would the list of public addresses generated include all
of the public addresses that would identify the Bitcoin mined
during the relevant time period?

A We believe so.

Q And why did you do that?

A Law is incredibly important to me. I'm doing a doctorate
in law at the moment, I have a master's in law, and the whole
creation of Bitcoin was to create a system, not where code is
law, but where code and law work together, to create a system
that enables people to interact rather than the Google/
Facebook world. I'm very focused on ensuring things fall

within the rules, and if I'm ordered to do something by a

 

 
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valid court, and I can do it, I will do whatever I have to to

do it.
Q Dr. Wright, is there any reason -— and please tell the
Judge -- is there any reason why you have not provided the

public addresses other than that you cannot? Is there another
reason, any reason, that you believe if you could provide the

public addresses, would justify your willful noncompliance to

this Court and refuse to do so?

A If there was any way at all that I could, I would.

Q Have you discussed the possibility that the key fragments

never arrive and you're unable to access the coins with your

family?

A Yes.

Q Are they concerned?
A No.

Q Why not?

MR. FREEDMAN: Objection, Your Honor; irrelevant.

THE COURT: I'll allow it.

THE WITNESS: My wife and I consider it's too much
money. I've got enough now. I own percentages of the
companies I've founded. And we worry what that amount of
money would do to the kids. We've ensured that it will never
go to them. At best, what I have from my shares and other
aspects of my patents, they can inherit that. And the way

that it will work is if this goes to them after I die, then

 

 
